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                            UNITED STATES DISTRICT COURT
17                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
18   CHASOM BROWN, WILLIAM BYATT,                    Case No. 4:20-cv-03664-YGR-SVK
     JEREMY DAVIS, CHRISTOPHER
19   CASTILLO, and MONIQUE TRUJILLO,                 GOOGLE LLC’S REPLY IN SUPPORT
     individually and on behalf of themselves and    OF MOTIONS TO SEAL AND REMOVE
20   all others similarly situated,                  DOCUMENTS (DKTS. 1098, 1099, 1100)

21                  Plaintiffs,                      Judge: Hon. Yvonne Gonzalez Rogers

22          vs.
23   GOOGLE LLC,
24                  Defendant.
25                                                                Case No. 4:20-cv-03664-YGR-SVK
                                  GOOGLE’S REPLY ISO MOTIONS TO SEAL AND REMOVE DOCUMENTS
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 1           Plaintiffs do not oppose sealing the majority of the confidential and proprietary information

 2 at issue in Google’s motions, see Dkt. 1101-1 (Proposed Order) at 2–3, and the unopposed portions

 3 should be sealed for the reasons set forth therein, see Dkts. 1099, 1100. Plaintiffs oppose sealing

 4 only three categories of information: (i) “information . . . regarding the number of data event records

 5 impacted by th[e] settlement;” (ii) the name of an internal Google project; and (iii) Plaintiffs’

 6 damages expert Michael Lasinski’s purported estimates of Google’s revenue loss due to a feature in

 7 Incognito mode that blocks third-party cookies by default, which is based on highly confidential and

 8 competitively sensitive Google data that this Court has previously ordered sealed. See Dkt. 1101

 9 (“Opp.”).

10           Google withdraws its sealing request as to categories (i) and (ii): Google has in good faith

11 considered Plaintiffs’ arguments—including the importance of public access to information that

12 “will help class members and the public evaluate the merits of the settlement” and the fact that

13 category (i) has already been published by major news outlets and cannot readily be removed from

14 the public sphere. See Opp. 2–3. Google agrees to withdraw its request to seal categories (i) and (ii)

15 listed above. In doing so, however, Google notes its grave concern with the implications of

16 Plaintiffs’ argument that “[d]ozens of news outlets have already reported on” certain information

17 Google sought to seal. See Opp. 3. A party seeking to publicize confidential or competitively

18 sensitive information should not be able to evade a meritorious sealing motion simply by including

19 that information in a public filing and then opposing a timely motion to redact confidential material

20 on the basis that it is too late to prevent its dissemination.1

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    Plaintiffs’ accusations (at Opp. 1, 3) that Google did not raise specific sealing concerns during the
   24 hours Plaintiffs gave Google to review their motion, and purportedly “fail[ed] to promptly seek
23 sealing at the time the approval motion and settlement agreement were filed,” are specious. Google
   did not expect Plaintiffs to exclude its confidential information, much of which is already subject to
24 sealing orders, from its motion to seal (Dkt. 1097). When Google realized Plaintiffs’ mistake, it
   promptly moved to redact the relevant material—three days before its response to Plaintiffs’ sealing
25 motion was due under Local Rule 79-5(f).
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 1           The Court should grant Google’s request to seal category (iii): Plaintiffs fail to rebut

 2 Google’s compelling reasons for sealing its commercially sensitive internal metrics and financial

 3 data. Indeed, the Court has already ordered that material sealed with Plaintiffs’ assent. When

 4 Plaintiffs filed Mr. Lasinski’s expert report with their class certification motion, they recognized

 5 that it contained Google’s confidential information and they moved to file it under seal. Dkt. 608.

 6 Google filed a declaration in support of Plaintiffs’ sealing motion (Dkt. 643), Plaintiffs filed no

 7 opposition, the Court granted the motion (Dkt. 804 at 15), and the relevant financial data remains

 8 redacted on the public docket (Dkt. 643-11). But now that Plaintiffs want to publicly boast about

 9 (and grossly inflate) the value of the settlement, they have unilaterally decided to file the same,

10 previously sealed information publicly, without alerting Google in advance or seeking to meet and

11 confer.

12           Plaintiffs argue that “[t]he calculations Google proposes redacting are . . . based on

13 methodologies and figures the Court already discussed in its class certification order.” Opp. 2–3

14 (emphasis added). But the Court’s summary description of Mr. Lasinski’s methodology and his

15 bottom-line damages figures (neither of which Google seeks to seal here) is a far cry from revealing

16 the internal metrics that Mr. Lasinski used in his calculations. To the contrary, the Court ordered all

17 such metrics sealed and never publicized them in any order.2 Dkt. 804 at 15.

18           Contrary to Plaintiffs’ assertion, sealing Google’s proprietary information would not prevent

19 Plaintiffs from continuing to publicly tout their claimed (but massively inflated) valuation of the

20 settlement. In their motion to approve the settlement, immediately following their discussion of

21 Google’s confidential information, Plaintiffs conclude that “these two changes alone conservatively

22 total between $4.75 billion and $7.8 billion.” Dkt. 1096 at 16; Dkt. 1097-1 at 16. Because these

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     As an illustrative example, Plaintiffs put a dollar figure on Google’s annual revenue loss from
24 blocking third-party cookies in Incognito mode, Dkt. 1096 at 13, citing paragraph 35 of Dkt. 608-9.
   But Dkt. 608-9 is sealed in its entirety, and the public version redacts the figure Plaintiffs publicly
25 reveal in their settlement approval motion, Dkt. 643-11 at ¶ 35.
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 1 figures are sufficiently far removed from Google’s sensitive internal metrics, Google has not sought

 2 to seal them. Nor has Google sought to seal Plaintiffs’ general description of how they arrived at

 3 these values.3

 4           For the foregoing reasons and those set forth in its motions, Google respectfully requests

 5 that the Court grant Google’s motions as modified by this reply.

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 7 DATED: April 12, 2024                        QUINN EMANUEL URQUHART &
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     Though Google does not seek to seal these figures, it does not endorse their accuracy either. To
   the contrary, Mr. Lasinski’s calculations are methodologically flawed, see Dkt. 661-3 (Google’s
24 Daubert Motion), and Plaintiffs’ characterizations of the settlement value are nothing more than
   puffery calculated to support their forthcoming fee application, see Dkt. 1102 (Google’s Non-
25 Opposition Statement) at 2.
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